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                             UNITED STATES DISTRICT COURT
                                                  for the
                                        Southern District of Illinois



                                              NOTICE

As requested in an email submitted to the clerk’s office new case mailbox in Benton, Illinois, a new civil
case has been opened. Documents must now be electronically filed by the attorney who requested the
case opening, and the filing fee is due immediately. The case number must be placed on pleadings before
they are electronically filed. Internet credit card payments must be made online through www.Pay.gov.

Documents must be electronically filed as follows:

          •     Complaint with civil cover sheet as an attachment to the entry. The CM/ECF
                filing event for a complaint is located under the heading of “Complaints and
                Other Initiating Documents;” or

          •     Notice of Removal with complaint, process, pleadings, and orders originally
                filed in state court and civil cover sheet as attachments to the entry. See 28
                U.S.C. § 1446(a) and Federal Rule of Civil Procedure 7(a). The CM/ECF filing
                event for a notice of removal is located under the heading of “Notices.”

A video demonstration on the procedure to electronically file a complaint is available at:

              www.ilsd.uscourts.gov/complaint_demo/File%20Complaint_demo.htm

NOTE: Electronic transmission of a document to the ECF system, together with the transmission of a
“Notice of Electronic Filing” from the court, constitutes filing of the document for all purposes of the
federal rules and the local rules of this court and constitutes entry of the document on the docket kept
by the clerk. See Southern District of Illinois Electronic Filing Rule 3. Even though a file has been
opened in the clerk’s office, the complaint or notice of removal is not deemed “filed” with the clerk
until it is transmitted to the ECF system.

If a summons was submitted to the clerk’s office for issuance, the clerk will issue the summons and
return it to the requesting attorney once the complaint has been electronically filed. The CM/ECF filing
event “Summons Issued” will notify the attorney that the summons has been issued.

Additional information about the procedure for filing a new civil case can be found in the CM/ECF
User’s Manual Section 4.0, page 4.1, or by calling the CM/ECF Help Desk at (618) 482-9296 (Monday
through Friday, 9 a.m. to 4:30 p.m. Central Time).




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